                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION


 TWANA MARIE MONETTE,

 Plaintiff,                                              Case No. 2:17-cv-01412-PP

 v.                                                      Honorable Judge Pamela Pepper

 CONTINENTAL FINANCE
 COMPANY,LLC

 Defendant.

                     RELEASE AND SATISIFICATION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on the 30th Day of January, 2018,

in favor of Twana Marie Monette and against Continental Finance Company, LLC in the amount

of $15,338.62 plus attorney fees and costs and said judgment attorney fees and costs having been

fully paid.

        THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,

and the Clerk of the District Court for the Eastern District of Wisconsin is hereby authorized and

directed to make an entry of the full and complete satisfaction on the docket of said judgment


Dated: February 5, 2019                      Respectfully Submitted,


                                                    /s/ Nathan C. Volheim
                                                    Nathan C. Volheim
                                                    Counsel for Plaintiff
                                                    Sulaiman Law Group, LTD
                                                    2500 South Highland Ave., Suite 200
                                                    Lombard, Illinois 60148
                                                    Phone: (630) 575-8181
                                                    nvolheim@sulaimanlaw.com




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